Case 4:20-cv-00247-SMR-SBJ Document 1

Pro Se | (Rev. 12/16) Complaint for a Civil Case

Filed 08/07/20 Page 1 of 6

RECEIVED

AUG 07 2020
CLERK OF DISTRICT COURT

UNITED STATES DISTRICT COURT

Southern District of lowa

central

william robert megrann

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

barry gibb

for the
Kd

Division

Case No.

4E-20-Cv- 47

(to be filled in by the Clerk's Office)

 

Jury Trial: (eheck one) [V/| Yes [_]No

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR A CIVIL CASE

1 The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

The Defendant(s)

des moines.

william robert megrann

 

1420 mulberry ‘street

 

polk county

 

iowa 50309
515 350 8395

megrannwilliam2@gmail.com

 

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (i/4nown). Attach additional pages if needed.

Page | of 5
Case 4:20-cv-00247-SMR-SBJ Document 1 Filed 08/07/20 Page 2 of 6

Pro Se | (Rev. 12/16) Complaint for a Civil Case

Defendant No. |

 

 

 

Name barry gibb _
Job or Title (if known) singer song writer oo
Street Address 5820 N BAY ROAD. ee

City and County miami [PemeH

State and Zip Code florida Bl 24¢oO-B © oy

Telephone Number BROS SCS DTU -45 ¢-U60OF

E-mail Address (if known)

 

Defendant No. 2

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

Telephone Number

 

 

E-inail Address (if known)

Defendant No. 3

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

Telephone Number

 

 

 

E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code

Telephone Number

 

 

 

 

E-mail Address (if known)

 

Page 2 of 5
Case 4:20-cv-00247-SMR-SBJ Document 1 Filed 08/07/20 Page 3 of 6

Pro Se ! (Rev. 12/16) Complaint for a Civil Case

II.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[Federal question Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
I. The Plaintiff(s)
a. If the plaintiff is an individual

The plaintiff, (name) tay {fitm R dh ert i Gptn “) is a citizen of the
State of (name) tog 0
oo

 

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated

 

under the laws of the State of (name) >

 

and has its principal place of business in the State of (ame)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s) -

 

a. If the defendant is an individual
The defendant, (name) a) ay ‘Sy 7 b b , isa citizen of
the State of (name) mW, A rh oh, 2 . Orisa citizen of

 

(foreign nation)

 

Page 3 of 5
Case 4:20-cv-00247-SMR-SBJ Document 1 Filed 08/07/20 Page 4 of 6

Pro Se | (Rev. 12/16) Complaint for a Civil Case

b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , , and has its

 

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) ;

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy (y 4 WJ br Fay mes ef

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

I3 76 [Owe GS-44 Db VOR Lycee Ten Hf
76 fFecord Cs Por) Decad Feeor de

aya ce c x =
ea ws Js Avese (66 Ary Fs v Arn Tr

IIL, Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

~ DO. O a AY rigs User By Bre} h,. wb*S
2 ee “ ST 9 doy Yo IPT cand ang
Y Qo ms yt 0 ba Wy elo Bvb,
1978,dy 5 Sen PT. posse SreBunf ab b. low
PTASW TF] . .

IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

2 bivent aun Go lx Rey h\t-4
Sh Se rg vad Dv rea, Tey deleviy
P°A+ hoy ltex JN nd by (Rael /

[Py Koy Bf fs wend spy . y Log MOP Eo
Case 4:20-cv-00247-SMR-SBJ Document 1 Filed 08/07/20 Page 5 of 6

Pro Se | (Rev. 12/16) Complaint for a Civil Case

 

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: [> vg ws. & p DIES

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

wll ica & WoL

 

 

 

 

 

 

 

 

 

Page 5 of 5
 

  
 

20-cv-00247-SMR- SB) Document 1 Filed 08/07|20 mee PKG SVC-RTL™ |
ioe Se eo ipeeo oz |

1005

 
 
 

 

me Tae Rabe un arent
Yad mel bey of |
2s Ad fet fou Ma |p sa

vas cr i rr TO:
S03 3 OG : | 123 E WALNUT ST
Des Moines IA 50309-2035
USPS TRACKING® NUMBER

4

a Kk court 9500 1134 0562 0219 1282 63
Lech OF - eee
OS Federg! CcoUurTl /rloyse
23 EF Woalowtt sk!
_BDes DIC Nes Tow
TOIOT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
